Case 2:03-cV-02568-BBD-tmp Document 304 Filed 07/11/05 Page 1 of 3 Page|D 293

 

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IN THE UNITED sTATEs DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE 05 JUL l I FH h 93
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CHARLENE sPINKs, W OF itt MM’HS

Plaintiff,
vs. No. 03-2568»D/P

HOME TECH SERVICES CO., INC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’S
MOTION FOR PROTECTIVE ORDER

 

This matter came before the Couit upon the Motion of Defendant, NovaStar Mortgage,
Inc. (“NovaStar”) for Protective Order concerning its Rule 26(a) expert disclosures

Upon due consideration of the matter before the Court, it appears that NovaStar’s Motion
should be granted

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED that:

NovaStar’s Rule 26(a) expert disclosures Shall be due 60 days after: (a) plaintiff makes
all of her Rule 26(a) expert disclosures; and (b) plaintiff responds fully to all of NovaStar’s

Interrogatories, Document Requests and Requests for Admission, the deadlines for which are set

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by separate order of this Court.

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Honorable Bernice Donald
US DISTRICT COURT

